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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    vs.                                                             Case No. 3:10-cr-54-J-34PDB

    BARBARA ANN WINTON
    ________________________________

                                                     ORDER

            THIS CAUSE is before the Court on Magistrate Judge Patricia D. Barksdale’s Report

    & Recommendation on Pending Pro Se Motions (Dkt. No. 105; Report), entered on June 10,

    2014. In the Report, Magistrate Judge Barksdale recommends that the Court grant one of

    Ms. Winton’s requests and deny the rest. See Report at 1. No objections to the Report

    have been filed, and the time for doing so has now passed.

            The Court reviews a magistrate judge’s report and recommendation in accordance

    with the requirements of Rule 59, Federal Rules of Criminal Procedure (Rule(s)) and 28

    U.S.C. § 636(b)(1). The Court “may accept, reject or modify, in whole or in part, the findings

    of the recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1); see also

    Rule 59(b)(3). “[I]n determining whether to accept, reject, or modify the magistrate’s report

    and recommendations, the district court has the duty to conduct a careful and complete

    review.” Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982 (quoting Nettles v.

    Wainright, 677 F.2d 404, 408 (5th Cir. Unit B 1982)1). Additionally, pursuant to Rule 59 and


            1
                     In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981), the Eleventh Circuit
    adopted as binding precedent decisions of the former Fifth Circuit (including Unit A panel discussions of that
    circuit) handed down prior to October 1, 1981. W.R. Huff Asset Mgmt. Co., L.L.C. v. Kohlberg, Kravis, Roberts
    & Co., L.P., 556 F.3d 979, 985 n.6 (11th Cir. 2009). After October 1, 1981, “only decisions of the continuing
                                                                                                    (continued...)
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    § 636(b)(1), where a party timely objects2 to the magistrate judge’s report and

    recommendation, “[a] judge of the [district] court shall make a de novo determination of

    those portions of the report or specified proposed findings or recommendations to which

    objection is made.” 28 U.S.C. § 636(b)(1); see also Rule 59(b)(3); Thomas v. Arn, 474 U.S.

    140, 149-50 (1985).           Nevertheless, while de novo review of a magistrate judge’s

    recommendation is required only where an objection is made3, the Court always retains the

    authority to review such a recommendation in the exercise of its discretion. See Rule 59

    advisory committee notes (2005) (citing Thomas, 474 U.S. at 154; Matthews v. Weber, 423

    U.S. 261, 270-71 (1976)).

               Upon careful consideration and independent review of the record, the Court will

    accept and adopt the factual and legal conclusions recommended by the Magistrate Judge.

               Accordingly, it is hereby ORDERED:

               1.    The Magistrate Judge’s Report & Recommendation on Pending Pro Se

    Motions (Dkt. No. 105) is ADOPTED as the opinion of the Court.




               1
              (...continued)
    Fifth Circuit’s Administrative Unit B are binding on this circuit. . . .” Dresdner Bank AG v. M/V Olympia Voyager,
    446 F.3d 1377, 1381 n. 1 (11th Cir. 2006). The Court notes that the Fifth Circuit overruled Nettles, in part, on
    other grounds, in Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996)(en banc).
    However, “that does not change the binding effect of Nettles in this Circuit because Douglass was decided after
    October 1, 1981 and was not a Unit B decision.” United States v. Schultz, 565 F.3d 1353, 1360 n.4 (11th Cir.
    2009).
               2
                    Both 28 U.S.C. 636(b)(1) and Rule 59(b)(2) require a party wishing to object to a magistrate
    judge’s recommendation to serve and file any objections within fourteen (14) days of being served with the
    magistrate’s recommendation. Rule 59 further provides that a “[f]ailure to object in accordance with this rule
    waives a party’s right to review.” Rule 59(b)(2).
               3
                     See Rule 59 advisory committee notes (2005) (citing Peretz v. United States, 501 U.S. 923
    (1991)).

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             2.   Ms. Winton’s request to not limit her objections to her supervised release

    conditions to her religious views so that she can argue that medication adversely affects her,

    Dkt. No. 83 at 1-2; Dkt. No. 92 at 1-3, is GRANTED to the extent that in arguing that the

    Court should modify her supervised release, Ms. Winton is not prohibited from asserting that

    medication adversely affects her and may cause her to reoffend.

             3.   Ms. Winton’s request to exclude from all court proceedings and any decisions

    in the case the assigned probation officer, the chief probation officer, and all supervisory

    probation officers, Dkt. No. 83 at 5-6, is DENIED.

             4.   Ms. Winton’s request to transfer venue, Dkt. No. 83 at 7-8, is DENIED.

             5.   Ms. Winton’s request to be paid transportation costs to court hearings or to

    allow her to attend by telephone, Dkt. No. 83 at 8-9; Dkt. No. 103 at 6, is DENIED.

    However, Ms. Winton may move to attend hearings telephonically on a hearing by hearing

    basis.

             6.   Ms. Winton’s request to revisit her conviction by declaring a mistrial,

    suppressing evidence, and allowing her to present new evidence about the crime of

    conviction, Dkt. No. 83 at 9-12; Dkt. No. 91; Dkt. No. 92 at 1-3; Dkt. No. 95 at 11-12; Dkt.

    No. 96 at 3-4, is DENIED.

             7.   Ms. Winton’s request to immediately modify her supervised release conditions

    by revoking the special conditions that she obtain mental health treatment and participate

    in a substance abuse program, Dkt. No. 92 at 1-3; Dkt. No. 95 at 11-12, is DENIED, without

    prejudice. The Court defers ruling on the modification request until the final revocation

    hearing.


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           8.     Ms. Winton’s request to add to the record all motions, letters, and attachments

    that she has submitted to the probation office and any other court personnel, Dkt. No. 103

    at 1-3, is DENIED.

           9.     Any additional requests that Ms. Winton intended to make in the pending

    motions, Dkt. Nos. 83, 91, 92, 95, 96, and 103, that have not already been decided in other

    orders, except for her request to modify her supervised release conditions that the Court will

    consider at the final revocation hearing, are DENIED.

           DONE AND ORDERED at Jacksonville, Florida, this 28th day of July, 2014.




    ja

    Copies to:

    Counsel of Record




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